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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                          )
In re:                                                    ) Chapter 11
                                                          )
LIMETREE BAY SERVICES, LLC, et al.,1                      ) Case No. 21-32351 (DRJ)
                                                          )
                                             Debtors.     ) (Jointly Administered)
                                                          )

                      WITNESS LIST AND EXHIBIT LIST OF
         ST. CROIX ENERGY, LLLP FOR DECEMBER 21, 2021 SALE HEARING

         St. Croix Energy, LLLP (“SCE”), by and through its undersigned counsel, hereby files its

Witness and Exhibit List for the hearing to be held on December 21, 2021, at 10:00 a.m.

(prevailing Central Time) (the “Hearing”) as follows.2

                                                 WITNESSES

         SCE may call the following witnesses at the Hearing:3

                i.    Mark Shapiro, Chief Restructuring Officer

               ii.    Michael O’Hara, Managing Director, Jefferies LLC

              iii.    Charles Chambers, Chief Executive Officer, West Indies Petroleum Limited

              iv.     any witness listed by any other party; and

               v.     rebuttal witnesses as necessary.




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, as applicable, are: Limetree Bay Services, LLC (1866); Limetree Bay Refining Holdings, LLC (1776);
    Limetree Bay Refining Holdings II, LLC (1815); Limetree Bay Refining, LLC (8671); Limetree Bay Refining
    Operating, LLC (9067); Limetree Bay Refining Marketing, LLC (9222). The Debtors’ mailing address is
    Limetree Bay Services, LLC, 11100 Brittmoore Park Drive, Houston, TX 77041.
2
    SCE reserves the right to amend this Witness and Exhibit List.
3
    SCE reserves the right to cross-examine any witness called by any other party at the Hearing.
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                                           EXHIBITS




                                                                          Object
                                                                                                 Disposition




                                                                                   Admit
                                                           Mark
                                                                  Offer
 No.                       Description                                                     W/D
                                                                                                 After Trial

         Any document or pleading filed in the
  1.     above-captioned main cases.
         Any exhibit necessary for impeachment or
  2.     rebuttal purposes.
         Any exhibit identified or offered by any other
  3.     party.

       SCE reserves the right to supplement or amend this Witness and Exhibit List and to

identify additional exhibits, including but not limited to rebuttal and impeachment exhibits, prior

to the conclusion of the Hearing.



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Dated: December 19, 2021
       New York, New York

                                         Respectfully submitted,

                                         ROPES & GRAY LLP

                                         /s/ Gregg M. Galardi
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                                         -and-

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                                         Counsel to St. Croix Energy, LLLP




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                             CERTIFICATE OF SERVICE

       I certify that on December 19, 2021, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                    /s/ Gregg M. Galardi
                                                    Gregg M. Galardi




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